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                                                                                                                                        HIGHLY CONFIDENTIAL




              Figure 77. Percent decrease in publisher payout if exchange was removed, US users (June 28, 2023)


               25%




               20%       19.4% - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                15%




                10%




                 5%


                                                0.4%       0.3%        0.3%       0.3%        0.2%       0.2%        0.1 %       0.1%
                 0%




              Source: GAM log-level data (DOJ RFP 50 & 59). June 28, 2023.
              Notes: This figure is a replication of Figure 28 in Section V.C but restricts to impressions served to US users.
